                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  ROBERT J. KRAUS and MARGARET
  M. KRAUS, h/w                                   Civil Action No.: 2:18-cv-02119-TJS

          Plaintiffs,

  v.

  ALCATEL LUCENT, et al.,

          Defendants.



       DEFENDANT SPACE SYSTEM/LORAL, LLC’S MEMORANDUM OF LAW IN
       SUPPORT OF ITS DAUBERT MOTION TO EXCLUDE THE TESTIMONY OF
         PLAINTIFFS’ PROFFERED EXPERT WITNESS DR. ARTHUR FRANK



                         I.      INTRODUCTION AND BACKGROUND
        Defendant Space Systems/Loral LLC (“SSL”) respectfully requests that the Court

exclude Plaintiffs’ expert witness, Dr. Arthur Frank, under Federal Rules of Evidence (“FRE”)

702, 703, and 403 and under Daubert v. Merrell Dow Pharmaceuticals Inc., 509 U.S. 579

(1993). Dr. Frank opines that, during Plaintiff Robert Kraus’s Naval service aboard the USS

Cambria between 1964 and 1967, Mr. Kraus was exposed to asbestos in electronic equipment for

which Plaintiffs claim SSL is responsible. Dr. Frank further opines that any and all of Mr.

Kraus’s asbestos exposures above background constituted substantial contributing factors to the

development of Mr. Kraus’s mesothelioma. Finally, Dr. Frank refuses to explain or comment

upon the hypothetical questions that he anticipates from Plaintiffs’ counsel at trial.

        Dr. Frank’s opinions should be excluded for lack of scientific (or any legally cognizable)

basis because Dr. Frank: (1) relies, for his opinion concerning exposure, solely upon a summary

prepared by Plaintiffs’ counsel that fails to address or refer to any actual evidence; (2) fails to

identify a single study regarding the products at issue or alleged exposure type at issue; and (3)


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fails to identify any peer-reviewed literature for Dr. Frank’s signature theory that any exposure

above background is a substantial contributing factor to the development of mesothelioma.

                                             II.       FACTS

       A. Dr. Frank Admits That He Has No Basis For His Opinions that Mr. Kraus was
          exposed to Asbestos from Shipboard Electronic Equipment
       Dr. Frank attested in his written declaration that:

                 •      “Mr. Kraus was exposed to asbestos on electronic equipment while
                 serving in the United States Navy aboard the USS Cambria between 1964-
                 1967.” (Decl. Jarred M. Conforte (“Conforte Decl.”), ¶ 2 Ex. 1 at 1.)

                 •        “Based upon [Dr. Frank’s] review of the materials sent to [him], it
                 is [his] opinion, held with a reasonable degree of medical certainty, that
                 Mr. Kraus developed a malignant pleural mesothelioma as a result of his
                 exposures to asbestos. This would have included his exposures while
                 serving in the United States Navy, including his time in drydock at the
                 Philadelphia Naval Shipyard[.]” (Id.)
       Plaintiffs’ counsel sent materials to Dr. Frank, as referenced in his written declaration

above, including a document entitled “Robert J. Kraus Summary.” (Id. ¶ 3 Ex. 2) Dr. Frank

admitted at deposition that his written opinion that “Mr. Kraus was exposed to asbestos on

electronic equipment” aboard the USS Cambria was simply copied and pasted from the “Robert

J. Kraus Summary” that Plaintiffs’ counsel prepared and sent to Dr. Frank. (Id. ¶ 4 Ex. 3 at

31:3–32:1.)

       When asked about specific co-defendants that allegedly manufactured shipboard

equipment at issue in this case, Dr. Frank first admitted that he had not “seen any evidence that

there was actually any” aboard the USS Cambria. (Id. at 32:7–33:5). Dr. Frank then admitted

that his testimony would be the same “with respect to all of the other defendants in this case.”

(Id. 33:6–10.)

       Dr. Frank also admitted the following:

                 •       Dr. Frank does “not know or have any personal knowledge of any
                 of the material composition of the . . . electronic parts in this case[,]”
                 including radar and radios. (Id. at 186:18–187:4.)

                 •     Dr. Frank “know[s] nothing about any of the equipment on the
                 Cambria.” (Id. at 187:12–15.)

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                 •      Dr. Frank cannot say “any of the details about how Mr. Kraus was
                 supposedly exposed to asbestos on electronic equipment while serving in
                 the U.S. Navy[.]” (Id. at 33:18–34:2.)

          B. Dr. Frank Opines That Every Exposure to Asbestos Above Background Serves
             as a Significant Factor In the Development of Mesothelioma
          Dr. Frank attested in his written declaration that:

                 •      “The cumulative exposures that [Mr. Kraus] had to asbestos, from
                 any and all products, containing any and all fiber types, would have
                 contributed to his developing this malignancy.” (Id. ¶ 2 Ex. 1 at 2.)
          Dr. Frank opined at his deposition that “every exposure that is above background is a

significant factor in the development of mesothelioma[.]” (Id. ¶ 4 Ex. 3 at 44:12–22.) With
respect to this position, Dr. Frank admitted that he could not identify “any peer-reviewed

literature” for his theory that “any exposure above background, no matter how small . . . is going

to be a substantial contributing factor in causing Mr. Kraus’s mesothelioma.” (Id. at 44:23–

45:20.)

          C. Dr. Frank Expects to Be Asked Hypotheticals “at Trial” Regarding Exposure
             Evidence
          Dr. Frank attested in his written declaration that:

                 •      “[Dr. Frank] will not discuss in [his] report [his] views on specific
                 asbestos-containing products.” (Id. ¶ 2 Ex. 1 at 2.)
          Dr. Frank indicated multiple times throughout his deposition testimony that he expects

“to be provided hypothetical questions about the exposures to specific types of asbestos

containing products” and opine based on said hypotheticals. (See, e.g., id. ¶ 4 Ex. 3 at 41:4–11.)

                                           III.    ARGUMENT
          “A witness who is qualified as an expert by knowledge, skill, experience, training, or

education may testify in the form of an opinion or otherwise if,” inter alia, “the testimony is the

product of reliable principles and methods[ ] and ... the expert has reliably applied the principles

and methods to the facts of the case.” Fed. R. Evid. 702. An expert’s opinions must be “of the

type reasonably relied upon by experts in the particular field.” Fed. R. Evid. 703.




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       Additionally, expert testimony must satisfy the two-part test set forth in Daubert v.

Merrell Dow Pharmaceuticals Inc., 509 U.S. 579 (1993). Part one requires a judicial

determination of whether the proffered expert’s testimony constitutes scientific knowledge, or is

reliable. Id. at 610. The Court identified four factors for determining whether an opinion

constitutes scientific knowledge: (1) ability to test the theory (“testability”); (2) peer review and

publication (“peer review”); (3) known or potential rate of error (“error rate”); and (4) extent of

acceptance (“general acceptance”). Id. at 593, 594. Then, only if the expert’s testimony is

determined to reflect scientific knowledge, the court must ensure that the proffered testimony
aids the jury, or relevant (the “fit” requirement”). Id. at 591. Thus, under Daubert and Rule 702,

for an expert’s testimony to be admissible, the court must determine the proffered testimony to

be both reliable and relevant.

       Plaintiffs proffer Dr. Frank in an attempt to prove specific causation. Plaintiffs hope to

present the opinions of Dr. Frank to a jury to establish that: 1) Mr. Kraus actually encountered

asbestos from a product for which SSL allegedly is responsible, and 2) some unknown type of

exposure to an unquantified amount of asbestos during undefined conditions resulted in Mr.

Kraus’s mesothelioma. Dr. Frank’s testimony in this matter should be excluded under Federal

Rules of Evidence 702, 703, and Daubert for lack of scientific validity and under Federal Rule of

Evidence 403 because any probative value of Dr. Frank’s opinions is substantially outweighed

by the danger of unfair prejudice to SSL.

       A. Dr. Frank’s Opinions Lack Scientific Validity and Do Not Constitute Scientific
          Knowledge
       In this case, Dr. Frank’s specific causation opinions are not “the product of reliable

principles and methods” under Rule 702. Dr. Frank’s opinions likewise are not “of the type

reasonably relied upon by experts in the particular field” under Rule 703. Finally, Dr. Frank’s

opinions do not satisfy the “testability,” “peer review,” “error rate,” and “general acceptance”

Daubert factors for scientific knowledge.




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               1. Dr. Frank’s Asbestos Exposure Opinions Are Not Based on Scientific
                  Knowledge or the Application of Reliable Scientific Principles or
                  Methods
       When an expert opinion is based on data, a methodology, or studies that are simply

inadequate to support the conclusions reached, Daubert and Rule 702 mandate the exclusion of

that unreliable opinion testimony. See Heller v. Shaw Indus., Inc., 167 F.3d 146, 153 (3d

Cir.1999) (“[A] district court must examine the expert's conclusions in order to determine

whether they could reliably follow from the facts known to the expert and the methodology

used.”). Rule 703 in turn provides that “[a]n expert may base an opinion on facts or data in the

case that the expert has been made aware of or personally observed.” Fed. R. Evid. 703.
       For example, in Schindler v. Dravo Basic Materials Company, the plaintiff sought to

introduce specific causation testimony of its retained occupational and environmental health

expert that plaintiff’s “mesothelioma is a result of cumulative exposure to asbestos from 1955 to

1988.” CV 17-13013, 2019 WL 446567, at *3 (E.D. La. Feb. 5, 2019), aff'd, 19-30126, 2019

WL 5783324 (5th Cir. Nov. 5, 2019). The expert’s statement in his report that, in 1973, plaintiff

“worked under asbestos insulated pipes that vibrated, depositing asbestos containing dust on and

in close proximity” came directly from a sentence in plaintiff’s sworn interrogatories. Id. at *4.

This was “one sentence in a larger section recounting plaintiff’s work history.” Id. Holding the

expert’s opinion inadmissible under FRE 702, the district court noted that the “lone sentence”

did not allow the expert to make “a sufficiently reliable estimate about the amount, duration, or

frequency of plaintiff’s alleged exposures.” Id. at *5.

       Here, as in Schindler, in support of Dr. Frank’s opinion that Mr. Kraus was exposed to

asbestos “on electronics equipment . . . while aboard the USS Cambria,” Dr. Frank admitted that

he simply copied and pasted a statement from a summary that Plaintiffs’ counsel prepared.

(Conforte Decl. ¶ 4 Ex. 3 at 31:3–32:1.) Otherwise, Dr. Frank does “not know or have any

personal knowledge of any of the material composition of the . . . electronic parts in this case[.]”

(Id. at 186:18–187:4.) Independently, Dr. Frank “know[s] nothing about any of the equipment

on the Cambria.” (Id. at 187:12–15.) The summary that Plaintiffs’ counsel prepared and Dr.


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Frank cut and pasted into his report does not constitute scientific knowledge and is inherently

flawed for the following reasons:

          1.      Plaintiffs have no evidence that any of the Cambria shipboard electronic

                  equipment allegedly encountered by Mr. Kraus contained asbestos;

          2.      Plaintiffs have no evidence that Mr. Kraus encountered any electronic equipment

                  that was installed originally aboard the Cambria or supplied as a replacement part

                  by SSL; and

          3.      Plaintiffs have no evidence that Mr. Kraus performed any particular repair or
                  maintenance, or was in proximity to others performing any particular repair or

                  maintenance, to any asbestos-containing Cambria shipboard electronic equipment

                  and therefore cannot prove that any repair or maintenance performed on Cambria

                  shipboard electronic equipment released any respirable asbestos fibers. 1

          Dr. Frank’s reliance upon a summary prepared by Plaintiffs’ counsel—which is not

evidence—that fails to address or refer to any evidence does not satisfy the requirements of Rule

702, Rule 703 or Daubert’s “scientific knowledge” standard. Dr. Frank failed to identify a single

study involving bystander exposure to any shipboard electronic equipment, let alone the

shipboard electronic equipment at issue in this case. After acknowledging that Mr. Kraus “did

not perform any work on any of the equipment” on the USS Cambria, Dr. Frank then admitted

that he had “not seen any data regarding electronics material officers[.]” (Conforte Decl. ¶ 4 Ex.

3 at 32:2–6; 35:18–20.) See, e.g., Allen v. Pa. Eng’g Corp., 102 F.3d 194, 198-99 (5th Cir. 1996)

(finding that expert opinion failed to satisfy Fed. R. Evid. 703 because expert’s “background

information concerning [plaintiff’s exposure was] so sadly lacking as to be mere guesswork”).

          In sum, Plaintiffs cannot establish that Dr. Frank’s testimony is the product of reliable

principles and methods or that Dr. Frank reliably applied scientific principles and methods to the

facts of this case so as to opine in any regard as to Mr. Kraus’s exposure to asbestos. Fed. R.


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    See SSL’s Motion for Summary Judgment [ECF 487].

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Evid. 702. Likewise, Plaintiffs cannot establish that Dr. Frank’s opinions regarding exposure,

based solely upon a flawed and wholly unsupported summary by Plaintiffs’ counsel, are of the

type reasonably relied upon by experts in Dr. Frank’s particular field (or any field). Fed. R.

Evid. 703. Finally, Plaintiffs make no attempt to meet the “testability,” “peer review,” “error

rate,” and “general acceptance” Daubert factors that must be satisfied before Dr. Frank may

opine on asbestos exposure.

               2. Dr. Frank’s “Any Exposure Theory” Is Not Based on Scientific
                  Knowledge or the Application of Reliable Scientific Principles or
                  Methods
       “Opinions based on the ‘cumulative exposure’ or ‘each and every exposure’ theory have

been repeatedly excluded by those courts that have considered its admissibility under Rule 702

of the Federal Rules of Evidence and Daubert ....” Rockman v. Union Carbide Corp., 266 F.

Supp. 3d 839, 849 (D. Md. 2017); see also Yates v. Ford Motor Co., 113 F. Supp. 3d 841, 848

(E.D.N.C. 2015) (excluding expert testimony pertaining to the “each and every exposure”

theory); Barabin v. Scapa Dryer Fabrics, Inc., No. C07-1454JLR, 2018 WL 840147, at *7

(W.D. Wash. Feb. 12, 2018) (“The court agrees with this overwhelming precedent that the ‘every

exposure’ theory is unreliable.”); Kirk v. Crane. Co., et al., No. 1:10-cv-07435 (N.D. Ill.

December 22, 2014). In Lindstrom v. A-C Prod Liability Trust, 424 F.3d 488 (6th Cir. 2005)

abrogated on other grounds by Air & Liquid Sys. Corp. v. DeVries, 139 S.Ct. 986 (2019), the

trial court had rejected the opinion of the plaintiff’s expert, Dr. Corson, that “[e]ach of

[plaintiff’s] occupational exposures to asbestos aboard a ship to a reasonable degree of medical

certainty were a substantial contributing factor to his development of mesothelioma.” Id. at 493

(quoting affidavit). The Sixth Circuit affirmed the trial court’s ruling, noting that “a holding to

the contrary would permit imposition of liability on the manufacturer of any product with which

a worker had the briefest of encounters.” Id.

               Minimal exposure to a defendant’s product is insufficient.
               Likewise, a mere showing that defendant’s product was present
               somewhere at plaintiff’s place of work is insufficient. Rather,
               where a plaintiff relies on proof of exposure to establish that a
               product was a substantial factor in causing injury, the plaintiff
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               must show a high enough level of exposure that an inference that
               the asbestos was a substantial factor in the injury is more than
               conjectural.
Id.

       Lindstrom’s rejection of the “every exposure” theory has been reaffirmed in subsequent

decisions applying maritime law. McIndoe v. Huntington Ingalls Inc., 817 F.3d 1170, 1177 (9th

Cir. 2016) (citing to Lindstrom and rejecting plaintiff’s reliance on expert testimony which “did

not speak to the severity of [the decedent’s] own asbestos exposure beyond the basic assertion

that such exposure was significantly above ambient asbestos levels,” and “did not speak to the

severity of [the plaintiff’s] exposure to [the defendant’s product]”); Krik v. Exxon Mobil Corp.,
870 F.3d 669, 677–78 (7th Cir. 2017) (citing Lindstrom to reject plaintiff’s reliance on the “every

exposure” theory); see also Mortimer v. A.O. Smith Corp., 2015 WL 1606149, at *1 (E.D. Pa.

Jan. 6, 2015) (relying on Lindstrom to set forth the standard for causation under maritime law).

       In this case, as demonstrated above, Dr. Frank has no basis for opining on exposure and

no independent information about exposure. Dr. Frank admitted that he could not identify “any

peer-reviewed literature” for his theory that “any exposure above background, no matter how

small . . . is going to be a substantial contributing factor in causing Mr. Kraus’s mesothelioma.”

(Conforte Decl. ¶ 4 Ex. 3 at 44:23–45:20.) Indeed, Dr. Frank’s opinion treats all exposures the

same, with no reference to frequency, duration or proximity of the exposure. Dr. Frank makes

no attempt to differentiate products, manufacturers, timeframes, job assignments and duties, and

bystander versus direct exposure. Thus, Dr. Frank’s opinion is not based on scientific

knowledge or the application of scientific principles or methods to the facts of this case. Again,

Plaintiffs make no attempt to establish that Dr. Frank’s theory is accepted within his scientific

community and no attempt to satisfy the Daubert factors required for the admissibility of expert

testimony.

               3. Dr. Frank’s Opinions Fail the “Fit” Requirement
       Even assuming that Dr. Frank’s testimony reflects scientific knowledge and is reliable

under Daubert (which it is not), it nevertheless fails to advance a material aspect of the case, does


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not aid the jury, and must be excluded as irrelevant. In other words, Dr. Frank’s opinions do not

meet the “fit” requirement for expert testimony. Plaintiffs must prove that Mr. Kraus

encountered an asbestos-containing product for which SSL is liable. However, Dr. Frank’s

opinion treats all exposures the same; he makes no reference to the frequency, duration or

proximity of any exposure; and he groups all alleged exposures together. Dr. Frank makes no

mention of or attempt to differentiate particular products, manufacturers, or bystander versus

direct exposure. Thus, Dr. Frank’s general testimony regarding Plaintiff’s exposure and his

“every exposure” theory do not tend to show that Mr. Kraus was exposed to any particular
products or that Mr. Kraus’s alleged exposure was a substantial factor in causing his alleged

injury. Dr. Frank’s testimony should be excluded as irrelevant.

       B. Dr. Frank’s Opinions Are Inadmissible Under Federal Rule of Evidence 403
       Notwithstanding Federal Rules of Evidence 702 and 703 and the Daubert factors, Dr.

Frank’s testimony should be excluded under Federal Rule of Evidence 403. Expert testimony is

subject to Rule 403, and “may be excluded if its probative value is substantially outweighed by

the danger of unfair prejudice, confusion of the issues, or misleading the jury.” Fed. R. Evid.

403. Indeed, the Supreme Court, noted in Daubert the uniquely important role that FRE 403

must play in a district court's scrutiny of expert testimony, given the unique weight such

evidence may have in a jury’s deliberations. Daubert, 509 U.S. at 595 (‘ “Expert evidence can

be both powerful and quite misleading because of the difficulty in evaluating it. Because of this

risk, the judge in weighing possible prejudice against probative force under Rule 403 of the

present rules exercises more control over experts than over lay witnesses.’” (quoting Jack B.

Weinstein, Rule 702 of the Federal Rules of Evidence Is Sound; It Should Not Be Amended, 138

F.R.D. 631, 632 (1991))).

       Any probative value of Dr. Frank’s opinions is substantially outweighed by the danger of

unfair prejudice and of misleading the jury. Dr. Frank has no personal (let alone scientific)

knowledge concerning any aspect of the electronic shipboard equipment aboard the USS

Cambria. He can advance no studies concerning the products, or work to which Plaintiffs allege

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Mr. Kraus was a bystander. So, to advance his opinion regarding exposure, Dr. Frank relies

solely on Plaintiffs’ counsel’s flawed summary. Allowing Dr. Frank to present his exposure

opinions under those circumstances would severely prejudice SSL and mislead the jury because

Dr. Frank would be cloaked with the title of “expert.”

       Likewise, Dr. Frank advances his signature theory that causation depends merely on any

asbestos exposure above background supported by no studies, peer review, or general

acceptability in his field. His theory has been roundly rejected by science and by courts across

the country. In Haskins v. 3M Co., the district court examined the “every exposure” theory under
FRE 403 ruling the testimony inadmissible. 2:15-CV-02086-DCN, 2017 WL 3118017, at *8

(D.S.C. July 21, 2017) (“[T]he probative value of [plaintiff’s expert’s “every exposure” theory]

testimony is outweighed by its tendency to confuse and mislead the jury, and it must be excluded

under Rule 403.”). There, like Dr. Frank here, the plaintiff’s expert opined that “whenever the

total cumulative dose results in mesothelioma, every ‘occupational’ exposure should be

considered causative, no matter how small.” Id. at *6. The expert opinion in Haskins is akin to

Dr. Frank’s testimony here in that neither expert conducted any defendant-specific analysis. Id.

SSL would be manifestly and unfairly prejudiced and a jury mislead were Dr. Frank’s opinions

admitted under these circumstances. Id. (“Because [the expert’s] opinions evaluate causation in

a manner that is inconsistent with the appropriate legal standard, they are essentially irrelevant,

and any probative values they may have is easily outweighed by their tendency to confuse or

mislead the jury.”)

       C. Reservation of Rights for Hearing Under Rule 104 Concerning Dr. Frank’s
          Undisclosed Hypothetical Questions
       Dr. Frank indicated in his written report and repeatedly throughout his deposition

testimony that he expects “to be provided hypothetical questions about the exposures to specific

types of asbestos containing products” and opine based on those hypotheticals. (See, e.g.,

Conforte Decl. ¶ 4 Ex. 3 at 41:4–11; ¶ 2 Ex. 1 at 2.) If Dr. Frank is permitted to testify, SSL

hereby requests a preliminary hearing pursuant to Rules 104(a) and (c) so that the Court may


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hear and rule upon the mystery hypothetical questions Dr. Frank expects to receive from

Plaintiffs’ counsel that have not been revealed to SSL.

                                      IV.     CONCLUSION
       SSL respectfully requests that the Court exclude Plaintiffs’ expert, Dr. Arthur Frank,

under FRE 702 and 703, Daubert, and FRE 403.

Respectfully Submitted,


Dated: January 3, 2020                       GLAZIER YEE LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 3, 2020, I electronically filed the foregoing:
    DEFENDANT SPACE SYSTEM/LORAL, LLC’S MEMORANDUM OF LAW IN

     SUPPORT OF ITS DAUBERT MOTION TO EXCLUDE THE TESTIMONY OF

        PLAINTIFFS’ PROFFERED EXPERT WITNESS DR. ARTHUR FRANK

with the Clerk of the United States District Court for the Eastern District of Pennsylvania using

the ECF system, it is available for viewing and downloading from the ECF system, and a true

and correct copy was served via ECF to all counsel of record registered with the ECF system.



Dated: January 3, 2020

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